 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.1 Filed 08/11/10 Page 1 of 20




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

BRANDI AUSTIN and CENTER FOR
COMMUNITY JUSTICE & ADVOCACY,
a Michigan non-profit corporation,

              Plaintiffs,                                        Case No.

v.                                                               Hon.

CITIMORTGAGE, INC., a New York
corporation,

            Defendant.
__________________________________/

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__________________________________/


                                       COMPLAINT
       Plaintiffs Brandi Austin and Center for Community Justice and Advocacy, by their

attorney, Steve Tomkowiak, and for their Complaint against Defendant CitiMortgage, Inc., state

as follows:

                                   GENERAL ALLEGATIONS

Non-Discrimination Requirements
of the HAMP Program

       1.        The Home Affordable Modification Program (HAMP) repeatedly reminds

lenders and loan servicers, such as Defendant CitiMortgage, Inc., that implementation of loan
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.2 Filed 08/11/10 Page 2 of 20




modification programs must take place free of any discrimination against borrowers based on

protective class basis:

       Compliance with Applicable Laws
       Each servicer (and any subservicer it uses) must be aware of, and in full
       compliance with, all federal, state, and local laws (including statutes, regulations,
       ordinances, administrative rules and orders that have the effect of law, and
       judicial rulings and opinions) – including, but not limited to, the following laws
       that apply to any of its practices related to the HAMP:
            ...
           Servicers’ modifications under this program must comply with the Equal
            Credit Opportunity Act and the Fair Housing Act, which prohibit
            discrimination on a prohibited basis in connection with mortgage transactions.
            Loan modification programs are subject to the fair lending laws, and
            servicers and lenders should ensure that they do not treat a borrower less
            favorably than other borrowers on grounds such as race, religion, national
            origin, sex, marital or familial status, age, handicap, or receipt of public
            assistance income in connection with any loan modification. These laws also
            prohibit redlining.

FEDERAL RESERVE SUPPLEMENTAL DIRECTIVE 09-01, at 12 (April 6, 2009)(emphasis added); see

also HOME AFFORDABLE MODIFICATION PROGRAM GUIDELINES, at 9 (March 4, 2009).

       2.         CitiMortgage, Inc. has entered into an agreement with the Federal National

Mortgage Association (FHMA or, more commonly “FannieMae”), entitled a “Commitment to

Purchase Financial Instrument and Servicer Participation Agreement”.1               In the Servicer

Participation Agreement (SPA), CitiMortgage, Inc., on information and belief, warranted that it

could comply with the anti-discrimination principles of all applicable laws, including the anti-

discrimination provisions of the Fair Housing Act, the Equal Credit Opportunity Act and state

anti-discrimination statutes:

       Servicer is in compliance with, and covenants that all Services will be performed
       in compliance with, all applicable Federal, state and local laws, regulations,

       1
        See HAMP Servicer List (available at http://makinghomeaffordable.gov/contact_servicer .html).


                                                 2
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.3 Filed 08/11/10 Page 3 of 20




       regulatory guidance, statutes, ordinances, codes and requirements, including, but
       not limited to, . . . the Equal Credit Opportunity Act, 15 USC § 701 et seq., . . .
       Fair Housing Act and other Federal and state laws designed to prevent unfair,
       discriminatory or predatory lending practices and all applicable laws governing
       tenant rights.

       3.          CitiMortgage, Inc., on information and belief, has also entered into a

Subsequent Certification with FannieMae. This required CitiMortgage, on information and

belief, to represent that it implemented internal controls to assure compliance with the fair

lending laws:

       Scope of the Internal Controls Program.
       . . . [S]ervicers are required to certify that they have developed and implemented
       an internal controls program to monitor and detect loan modification fraud and to
       monitor compliance with applicable consumer protection and fair lending laws,
       among other things, as described in the SPA.2
       ...
       2. Servicer has developed and implemented an internal control program
       reasonably designed to monitor and detect loan modification fraud and to monitor
       compliance with applicable consumer protection and fair lending laws, among
       other things, as provided in Section 4 of the Financial Instrument.3

       4.          The Treasury Department provided CitiMortgage and other lenders with

several examples of control objectives:

       II.       Solicitation of Borrowers
                 ...
                Borrowers claiming a hardship who are current or are less than 60 days delinquent
                 and who contact the servicer about a HAMP modification are screened for
                 eligibility.




       2
         See FEDERAL RESERVE SUPPLEMENTAL DIRECTIVE 10-06 (June 29, 2010)(available at
https://www.hmpadmin.com/portal/docs/hamp_servicer/sd1006.pdf)(accessed Aug. 11, 2010).
       3
        Id. at B-3, Exhibit B, Form of Subsequent Certification.


                                                   3
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.4 Filed 08/11/10 Page 4 of 20




       III.       Investor and Third Party Analysis and Outreach
                  ...
                 Servicers have a documented process to ensure that borrower-contact staff has
                  accurate information about investor participation.
                  ...
       ...
       V.    Appropriately Forestalling Foreclosure Initiations/Sales and Offering
       Alternative Foreclosure Prevention Programs
                 Servicers suspend foreclosure for HAMP eligible borrowers in a timely fashion
                  until HAMP evaluation is completed.
                  . . . .4

       5.           This case arises because of CitiMortgage, Inc.’s discrimination on grounds of

race or color in its implementation of the HAMP program.

The Parties

       6.           Plaintiff Brandi Austin (Austin) is a natural person and resident of the City of

Detroit, County of Wayne, and State of Michigan.

       7.           Plaintiff Center for Community Justice and Advocacy (CCJA) is a Michigan

non-profit corporation with its principal place of business located in the City of Detroit, County

of Wayne, and State of Michigan.

       8.           On information and belief, Defendant CitiMortgage, Inc. (CitiMortgage), is a

New York corporation, with its principal office at 1000 Technology Drive, Mail Station 20-1-

371, O’Fallon, MO 63368.

       9.           On information and belief, CitiMortgage’s Michigan office for service of

process is located at 30600 Telegraph Road, in the City of Bingham Farms, County of Oakland,

State of Michigan.


       4
        Id. at C-1, Exhibit C, Examples of Control Objectives.


                                                   4
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.5 Filed 08/11/10 Page 5 of 20




       10.        On information and belief, CitiMortgage is a subsidiary of Citigroup, Inc., a

Delaware corporation with its principal executive offices in New York, N.Y.

       11.        CitiMortgage states in its 2010 Foreign Corporation Information Update, filed

with the State of Michigan, that it is engaged in mortgage banking activities in Michigan,

including mortgage servicing and various types of lending.

Jurisdiction and Venue

       12.        This cause of action arises under the Fair Housing Amendments Act of 1988,

42 U.S.C. § 3601 et seq. (FHA), which prohibits any person or entity engaged in residential real

estate-related transactions from discriminating against any person or redlining in residential

lending practices because of race or color.

       13.        This cause of action also arises under Civil Rights Acts of 1866 & 1870, 42

U.S.C. §§ 1981 & 1982 (Sections 1981 & 1982), including Section 1981(b), which prohibit

discrimination and redlining on the basis of race or color with respect to the formation of

contracts or agreements relating to the financing of housing and mortgage lending.

       14.        This cause of action also arises under the Consumer Credit Protection Act, 15

U.S.C. § 1601 et seq. (CCPA). Title VII of the CCPA, more commonly referred to as the Equal

Credit Opportunity Act, 15 U.S.C. § 1691 et seq. (“ECOA”), prohibits discrimination and

redlining in credit transactions on grounds of the race or color of a credit applicant.

       15.        This cause of action also arises under the fair housing and financing provisions

of the Michigan Elliot-Larsen Civil Rights Act, Mich. Comp. Laws § 37.2501 et seq. (ELCRA),

which, like Sections 1981 & 1982, prohibits any and all forms of discrimination and redlining on

grounds of race or color in connection with housing related financing.




                                                  5
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.6 Filed 08/11/10 Page 6 of 20




        16.        This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331, 42

U.S.C. § 3613 and 15 U.S.C. § 1691e. The Court also has supplemental jurisdiction over

Plaintiffs’ state law ELCRA claims.

        17.        Plaintiffs’ claims are timely, as filed within the two-year limitations period

applicable under the FHA, the three-year statute of limitations period applicable to claims under

Sections 1981 & 1982 and the ELCRA, and four-year limitations period applicable to claims

under Section 1981(b).

        18.        Venue is appropriate, under 28 U.S.C. § 1391, since the substantial part of the

events giving rise to this action occurred in this District; CitiMortgage conducts business in this

District; Austin and the CCJA reside and have their principal place of business in this District;

and the property that is the subject of this action are located in this District.

CCJA’s Mission and Purpose

        19.        CCJA’s mission and purpose is to undertake activities to help educate and

support human, civil and constitutional rights of low- to moderate-income residents of

Southeastern Michigan.

        20.        CCJA’s activities, include, among other things, assisting and counseling

residents in foreclosure prevention and mitigation. CCJA assists borrowers by assessing their

qualifications to obtain loan modifications.

        21.        CCJA is a HUD-approved housing counseling agency. CCJA activities also

include detecting instances of lending discrimination and predatory lending.

        22.        CCJA’s purpose also includes advocating for all such persons aggrieved by a

violation of human, civil or constitutional rights. As a HUD-approved counseling agency, CCJA




                                                   6
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.7 Filed 08/11/10 Page 7 of 20




is expected to help remedy discrimination in housing and promote fair housing rights and fair

housing choice.

        23.        All of CCJA’s activities seeks to protect the civil and constitutional the rights

of persons to fair lending without discrimination because of race, religion, color, national origin,

age, sex, marital status, familial status or disability.

Austin’s Protected
Class Membership

        24.        Austin is Black or of African-American descent.

        25.        Austin’s race or color as “Black or African American” is set forth on various

Uniform Residential Loan Applications (Form 1003) held by CitiMortgage.

        26.        Austin’s property was located in Detroit, Michigan.

        27.        CitiMortgage at all relevant times was aware of the location of Austin’s

property.

        28.        Austin’s property was located in an area where the majority of residents are

Black or of African-American descent.

Austin’s Purchase of a Condominium
Unit and Loan with CitiMortgage

        29.        On March 30, 2006, Austin purchased a residential condominium unit located

at 6533 E. Jefferson, Detroit, MI 48207, a development more commonly known as the “Lofts at

Rivertown”.

        30.        To finance her purchase of the condominium unit, Austin obtained a $117,300

mortgage from ABN Amro Mortgage Group (AAMG).

        31.        On information and belief, in 2007 the assets of AAMG, including Austin’s

mortgage, merged with and into CitiMortgage.


                                                    7
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.8 Filed 08/11/10 Page 8 of 20




       32.       On information and belief, Austin’s mortgage was owned by Federal Home

Loan Mortgage Corporation (FHLMC), more commonly known as “Freddie Mac”, with

CitiMortgage serving as servicer and Radian as an insurer.

Austin’s Requests for a
Loan Modification

       33.       In January of 2009, Austin was informed of the termination of her

employment.

       34.       Beginning in January of 2009, Austin requested a loan modification by faxing

three separate loan modification requests to CitiMortgage.

CitiMortgage’s Discriminatory Denial of
Austin’s Loan Modification Requests

       35.       CitiMortgage responded by denying Austin’s request because she was not

delinquent on her mortgage.

       36.       Under HAMP guidelines, CitiMortgage should have considered Austin’s

request for a loan modification under HAMP without requiring Austin to become delinquent on

her mortgage.

       37.       After Austin, in February of 2009, became delinquent, she again requested a

loan modification.

       38.       In April of 2009, Austin began receiving weekly bi-weekly unemployment

benefits in the amount of $668.

       39.       On April 15, 2009, almost two months later, CitiMortgage denied Austin’s

request allegedly due to “insufficient income”.

       40.       In June of 2009, Austin received notice from Trott & Trott, P.C., legal counsel

for CitiMortgage, of the commencement of foreclosure proceedings.


                                                  8
 Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.9 Filed 08/11/10 Page 9 of 20




       41.        Under HAMP guidelines, CitiMortgage should have commenced foreclosure

proceedings during the period that CitiMortgage was considering, or should have been

considering, Austin’s request for a loan modification under HAMP.

       42.        In July of 2009, CitiMortgage claimed that it did not receive information from

Austin regarding her loan modification request.

       43.        Although Austin had fax confirmations that CitiMortgage received her loan

modification requests and accompanying materials, Austin, in July of 2009, repeatedly resent her

loan modification request and supporting materials to CitiMortgage.

       44.        In a letter dated August 3, 2009, CitiMortgage notified Austin that it denied her

for several loan modifications requests and that she could contact loss mitigation if she had any

questions:

       After careful consideration, your request for a Workable SolutionsSM option has
       been respectfully declined due to the following reasons:
       When we reviewed your account for a Repayment Plan/Special Forbearance it
       was determined that there is not sufficient income to support this option.
       When we reviewed your account for a Modification, it was determined that there
       is not sufficient income to support this option. (emphasis in original)

       45.        CitiMortgage’s decision violated the HAMP guidelines in effect at that time,

which repeatedly permitted unemployment benefits to constitute acceptable income for purposes

of loan modifications under HAMP:

        Monthly           The borrower’s Monthly Gross Income is the amount before
        Gross             any payroll deductions includes wages and salaries, overtime
        Income:           pay, commissions, fees, tips, bonuses, housing allowances,
                          other compensation for personal services, Social Security
                          payment, including Social Security received by adults on
                          behalf of minors or by minors intended for their own support,
                          annuities, insurance polices, retirement funds, pensions,
                          disability or death benefits, unemployment benefits, rental



                                                  9
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.10 Filed 08/11/10 Page 10 of 20




                        income and other income.
                        Monthly net income can be used for preliminary screening
                        and qualification. If used, the servicer will need to multiply
                        net income by 1.25 to get to an estimate of Monthly Gross
                        Income.


HOME AFFORDABLE MODIFICATION PROGRAM GUIDELINES, at (March 4, 2009)(emphasis added).


      The borrower’s “monthly gross income” is the borrower’s income amount before
      any payroll deductions and includes wages and salaries, overtime pay,
      commissions, fees, tips, bonuses, housing allowances, other compensation for
      personal services, Social Security payments, including Social Security received
      by adults on behalf of minors or by minors intended for their own support, and
      monthly income from annuities, insurance policies, retirement funds, pensions,
      disability or death benefits, unemployment benefits, rental income and other
      income.
      ...

             If the borrower has other income such as social security, disability or
      death benefits, or a pension:
      ...
             If the borrower receives public assistance or collects unemployment:
                   Acceptable documentation includes letters, exhibits or a benefits
                    statement from the provider that states the amount, frequency, and
                    duration of the benefit. The servicer must determine that the
                    income will continue for at least nine months.

FEDERAL RESERVE SUPPLEMENTAL DIRECTIVE 09-01, at 6 & 8 (April 6, 2009)(emphasis added).

      Borrower Income/Asset Documentation and Verification of Eligibility
      Servicers should request that the borrower provide the income verification
      documentation listed below but may, consistent with contractual requirements,
      substitute other reliable forms of verification when appropriate.
      Unemployment Benefits. Evidence of the amount, frequency and duration of the
      benefits (usually obtained through a monetary determination letter). The
      unemployment income must continue for at least nine months from the date of the
      application. The duration of benefit eligibility – including federal and state
      extensions – may be evidenced by a screenshot or printout from the Department
      of      Labor    UI      benefit    tool,      which     is    available     at
      http://www.ows.doleta.gov/unemploy/ben_entitle.asp.


                                              10
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.11 Filed 08/11/10 Page 11 of 20




FEDERAL RESERVE SUPPLEMENTAL DIRECTIVE 10-01, at 4-5 (emphasis added).5

       46.         CitiMortgage’s rejection of Austin’s unemployment as “insufficient income”

also violated CitiMortage’s own program or policy pertaining to unemployed borrowers:

       Citi Unemployment Assist Program – Since March 2009, this CitiMortgage
       program serves as a bridge to longer-term solutions for recently unemployed
       borrowers with CitiMortgage-owned mortgages. The program lowers monthly
       mortgage payments to an average of $500 for three months for most eligible
       borrowers, a cost below the national average rent for a one-bedroom residence,
       according to Citi Research.6

On August 5, 2009, CitiMortgage proceeded with the sheriff’s sale on Austin’s home, with the

home purchased by Federal Home Loan Mortgage Corp. (“FHLMC” or “Freddie Mac”) for

$119,737.10.

       47.         The sale occurred even though CitiMortgage had told Austin in July of 2009

that CitiMortgage would postpone proceeding with the sheriff’s sale since Austin was eligible

for the loan modification program.

       48.         On December 30, 2009, Austin, in desperation, sent a hand-written letter

pleading again for favorable consideration of her loan modification request.




       5
         On or after July 1, 2010, servicers may no longer consider unemployment insurance benefits as a
source of income when evaluating borrowers for HAMP. FEDERAL RESERVE SUPPLEMENTAL DIRECTIVE
10-04, at 1 (May 11, 2010). This Federal Reserve directive was not in effect, however, when
CitiMortgage engaged in disparate treatment of Plaintiff Brandi Austin in comparison to non-protected
class borrowers as set forth below.
       6
         Citigroup, Inc. Press Release of June 16, 2010 (available at http://www.citigroup.com/citi/
press/2010/100616b.htm)(accessed August 4, 2010).


                                                   11
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.12 Filed 08/11/10 Page 12 of 20




CCJA’s Finding that Austin Qualified
for a Loan Modification Under HAMP

          49.      On January 5, 2010, Austin, lacking no other alternative, contacted the CCJA

regarding her experiences with CitiMortgage.

          50.      CCJA reviewed Austin’s unemployment income and other financial

information, completed a Debt Coverage and Cash Reserves Test spreadsheet (attached), and

found that Austin had met the qualifications for a loan modification under HAMP.

CCJA’s Request that CitiMortgage Reconsider Austin
for a Loan Modification Under HAMP

          51.      After finding that Austin qualified for a loan modification under HAMP, CCJA

contacted Trott & Trott, P.C. to obtain a loan modification on Austin’s behalf.

          52.      On January 12, 2010, CCJA sent Trott & Trott, P.C.’s loss mitigation

department financial records, hardship letter and unemployment insurance statement regarding

Austin.

          53.      On January 14, 2010, CCJA sent Trott & Trott, P.C.’s loss mitigation

department bank statements of Austin.

          54.      On January 25, 2010, CCJA submitted a letter on Austin’s behalf to Trott &

Trott, P.C., legal counsel for CitiMortgage, disputing the foreclosure and requesting that Austin’s

loan be reinstated and reviewed for a loan modification under HAMP. As explained by CCJA in

its letter to Trott &Trott, P.C.

                A. Austin’s loan was a FreddieMac loan;

                B. According to FreddieMac’s guidelines, the loan must be reviewed for HAMP

                    eligibility; and




                                                12
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.13 Filed 08/11/10 Page 13 of 20




              C. According to CCJA’s review, Austin’s loan was eligible for modification

                    under HAMP.

       55.       CCJA’s January 25, 2010 letter concluded by “disputing the foreclosure” and

asking that the loan be reinstated with a loan modification imitated according to FreddieMac

guidelines.

       56.       CCJA also sent Trott & Trott, P.C. a completed Borrower Financial

Information form.

       57.       On February 1, 2010, CCJA contacted Trott & Trott, P.C., regarding the letter

of January 25, 2010 and request for a loan modification under HAMP.

       58.       A representative from Trott & Trott, P.C. informed CCJA that no assistance

was available for Austin, and that Trott & Trott, P.C. had no contact numbers or fax numbers for

CitiMortgage, FreddieMac and Radian.

CCJA’s Discovery of CitiMortgage’s Discriminatory
Treatment of Loan Modification Applicants
Similarly Situated to Austin

       (i)    J.E.

       59.       On or before January 7, 2010, at the same time CCJA and Austin

unsuccessfully sought to obtain a loan modification from CitiMortgage under HAMP, CCJA was

contacted by a J.E., a White male, residing outside the City of Detroit, seeking a loan

modification from CitiMortgage.

       60.       J.E.’s race or color as “White” was set forth on a completed MSHDA Housing

Profile form provided to CitiMortgage, and, on information and belief, on various Uniform

Residential Loan Applications (Form 1003) held by CitiMortgage and on a HAMP Hardship

Affidavit form (Fannie Mae Form 1021) provided to CitiMortgage.


                                               13
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.14 Filed 08/11/10 Page 14 of 20




       61.        J.E.’s property is located in Fife Lake, Michigan.

       62.        CitiMortgage at all relevant times was aware of the location of J.S.’s property.

       63.        J.E.’s property was not located in an area of where the majority of residents are

Black or of African-American descent.

       64.        Like Austin, J.E.’s sole source of income was unemployment benefits.

       65.        Like Austin, J.E. had previously requested a loan modification from

CitiMortgage.

       66.        Unlike Austin, CitiMortgage, upon receipt of J.E.’s loan modification request,

did not proceed with the foreclosure sale.

       67.        Indeed, CitiMortgage did not proceed with a foreclosure sale though J.E.,

according to a letter from CitiMortgage dated December 24, 2009, was five months behind in his

mortgage payments.

       68.        Thereafter, CitiMortgage proceeded to grant J.E. a loan modification under

HAMP, permitting J.E. to remain in his home.

       (ii)     C.G. & K.G.

       69.        In June of 2009, CCJA was contacted and began working with C.G. & K.G. in

regards to obtaining a loan modification from CitiMortgage.

       70.        C.G. & K.G.’s race or color as “White” was set forth on various Uniform

Residential Loan Applications (Form 1003) held by CitiMortgage and on the HAMP Hardship

Affidavit (Fannie Mae Form 1021) provided to CitiMortgage.

       71.        C.G. & K.G.’s property is located in New Boston, Michigan.

       72.        CitiMortgage at all relevant times was aware of the location of C.G. & K.G.’s

property.


                                                14
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.15 Filed 08/11/10 Page 15 of 20




       73.         C.G. & K.G.’s property was not located in an area of where the majority of

residents are Black or of African-American descent.

       74.         Like Austin, C.G. and & K.G. sought a loan modification from CitiMortgage.

       75.         Like Austin, C.G.’s sole source of income was unemployment benefits.

       76.         On or before June of 2009, C.G. and & K.G. requested a loan modification

from CitiMortgage under CitiMortgage’s Workable SolutionsSM option.

       77.         Unlike Austin, C.G. and & K.G. were not denied CitiMortgage’s Workable

SolutionsSM option.

       78.         Rather, in July of 2009, CitiMortgage granted C.G. & K.G. a forbearance

agreement.

       79.         In September of 2009, CitiMortgage granted C.G. & K.G. approval under a

HAMP trial plan.

       80.         On February 17, 2010, C.G. & K.G. were approved for eligibility for a loan

modification under HAMP, enabling C.G. & K.G. to remain in their home.

Damages to Austin

       81.         As a direct and proximate result of the CitiMortgage’s differential treatment

and discrimination against Austin on grounds of her race or color, or the race or color of

residents in her community, Austin has incurred economic losses and damages, including the

loss of her home, as well as non-economic injuries, such as embarrassment, humiliation, anxiety,

frustration, loss of personhood and civil rights, and other personal injuries caused by the

discriminatory actions of CitiMortgage.

       82.         Further, the acts, conduct and/or omissions of CitiMortgage with respect to

Austin was and continues to be intentional, malicious, and in wanton or reckless disregard of the


                                                15
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.16 Filed 08/11/10 Page 16 of 20




rights and feelings of Austin, entitling Austin to an additional award of punitive and/or

exemplary damages.

Damages to CCJA

        83.         The discriminatory acts and unfair housing practices engaged in by

CitiMortgage has directly obstructed, frustrated and damaged the CCJA’s mission to assist and

counsel borrowers in foreclosure prevention and mitigation, and residents in all communities

served by CCJA, without regard to race or color.

        84.         The commitment of the CCJA to provide foreclosure prevention and mitigation

fosters its ultimate goal of abolishing its own existence.        Thus, the ongoing intentional

discriminatory practices of CitiMortgage not only prolong the CCJA’s existence, but has also

diverted scarce resources from other CCJA activities in order to counteract CitiMortgage’s

unlawful actions.

                                          COUNT I
                                   VIOLATION OF THE FHA

        85.         Paragraphs 1 through 84 of the Complaint are incorporated and restated as if

set forth fully herein.

        86.         CitiMortgage’s discriminatory actions on grounds of race or color denied

Plaintiffs the rights to which they entitled to contract for and otherwise obtain financing or

refinancing in housing-related transactions, in violation of the FHA, 42 U.S.C. § 3605.

        87.         CitiMortgage’s discrimination in violation of the FHA has caused injuries and

damages to Plaintiffs.




                                                 16
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.17 Filed 08/11/10 Page 17 of 20




                                      COUNT II
                           VIOLATION OF SECTIONS 1981 & 1982

        88.        Paragraphs 1 through 87 of the Complaint are incorporated and restated as if

set forth fully herein.

        89.        CitiMortgage’s discriminatory actions on grounds of race or color denied

Plaintiffs the rights to which they entitled to contract for and otherwise obtain financing or

refinancing in housing-related transactions, in violation of 42 U.S.C. §§ 1981 & 1982, including

42 U.S.C. § 1981(b).

        90.        CitiMortgage’s discrimination in violation of Sections 1981 & 1982, including

42 U.S.C. § 1981(b), has caused injuries and damages to Plaintiffs.

                                       COUNT III
                                 VIOLATION OF THE ECOA

        91.        Paragraphs 1 through 84 of the Complaint are incorporated and restated as if

set forth fully herein.

        92.        CitiMortgage discriminated against Austin, on information and belief, other

mortgage holders, on grounds of race or color in violation of the ECOA, resulting in economic

and non-economic injuries and damages to Plaintiffs.

                                        COUNT IV
                                 VIOLATION OF THE ELCRA

        93.        Paragraphs 1 through 90 of the Complaint are incorporated and restated as if

set forth fully herein.

        94.        CitiMortgage discriminated against Plaintiffs on grounds of race or color in

violation of the ELCRA, which prohibits any person or entity engaged in residential real estate-

related transactions from discriminating against any person in making available such a


                                                17
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.18 Filed 08/11/10 Page 18 of 20




transaction, or determining the terms or conditions of such a transaction, because of race or

color.

         95.       CitiMortgage’s discrimination in violation of the ELCRA has caused injuries

and damages to Plaintiffs.


         WHEREFORE, for all of the above reasons, Plaintiffs respectfully requests that the Court

grant the following relief against CitiMortgage:

         (A)    Enter a declaratory judgment that the actions of CitiMortgage are discriminatory
                and illegal;

         (B)    Preliminarily and permanently enjoin CitiMortgage and its agents, affiliates,
                employees and successors, and all other persons in active concert or participation
                with CitiMortgage, from further discrimination in any aspect of residential real
                estate-related transactions and, further, that the Court grant a preliminary
                injunction until such time as CitiMortgage provides loan modifications on a non-
                discriminatory basis;

         (C)    Grant affirmative relief as may be necessary to remedy CitiMortgage’s past
                discriminatory practices and decisions and to insure that CitiMortgage does not
                discriminate on grounds of race or color in the future;

         (D)    Award actual, compensatory and/or statutory damages to compensate Plaintifs for
                their economic losses and damages, and non-economic injuries, such as emotional
                distress, loss of civil rights, and humiliation and embarrassment caused by the
                CitiMortgage’s discrimination, in an amount to be proven at trial;

         (E)    Grant Plaintiffs an award of punitive and/or exemplary damages as a result of
                CitiMortgage’s deliberate, intentional, overt, willful and flagrant discrimination
                on grounds of race or color, in an amount that reflects the dual purposes of
                punishment and deterrence;

         (F)    Grant Plaintiffs an award of attorney fees, costs and pre-judgment and post-
                judgment interest incurred in bringing this action; and




                                                   18
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.19 Filed 08/11/10 Page 19 of 20




      (G)    Grant such other and additional relief that the Court finds just and appropriate
             under the circumstances.


                                                 Respectfully submitted,

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                                                 Counsel for Plaintiffs

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                                            19
Case 2:10-cv-13185-PDB-MAR ECF No. 1, PageID.20 Filed 08/11/10 Page 20 of 20
